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SIMON & PARTNERS LLP

THE FRENCH BUILDING
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BRADLE¥ D. SlMON wm\'.slmonlnwvers.com NEW YORK
KENNETI-] C. MURPHY WASHING'I`DN, D.C.
PARIS
'I`ERRENCE JOHNSON
December 19, 2017
By ECF r»,
Hon. Katherine B. Forrest 52 ;
United States Djstrict Judge ' 3 O~/§LL""_B .
Southem Disti'ict of New York 9
United States Courthouse fv\i?> {» w vf- \
500 Pearl Sti'eet
New York, NY 10007-1312
Re: United States v. Ckristopher Gojf ` {_A_ 5 33»3~»~
15 Cr. 616 §KBF}
tall l la l t':)r-»~

Dear Juclge Forrest:

We are Writing to respectfully request permission for Chi'istopher Goff to travel With his
family to Arizona for the Christmas holiday from Decernber 23 to Decemhe1'28, 2017. If
permitted, Mr. Goff and his family intend to stay at the Grand Canyon Railway Hotel, 235 North
Gi'and Canyon Bouievard, in Williams, Arizona from December 23 through Decembe1‘25, 2017.
Thereat`ter, they plan to drive from that hotel to 910 East Becker Lane, Phoenix, Ai'izona where
they will visit and stay at the home of a family member from Decernher 25 through Decernber
27, 2017, after which they will return home on December 28, 2017.

I have communicated With Assistant U S. Attomey Jennifer Beidel who informed me
that the timeraner to vthe_Unrted~States Pie-Trial Serviees (“USPTS”) on this lssue. I
have spoken tol\/h. Goff’ s Pi'-e T,Dl Seivices (Hiic_er, Francesca Tessier,~l\/liller who infoims me
gist”USPTS has no objection to our iequest. d_/

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WM MMMMM
§~our~klonei¢seattentioh"to this request is greatly appreciated

 

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Hon. Kathei‘ine B. Fon'est
December 19, 2017

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Respectfully submitted,

eth . l\/Iu y
Attomey for Christopher Goff

Cc: All Counsel of Record by ECF

 

